Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 1 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 2 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 3 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 4 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 5 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 6 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 7 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 8 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 9 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 10 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 11 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 12 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 13 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 14 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 15 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 16 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 17 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 18 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 19 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 20 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 21 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 22 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 23 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 24 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 25 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 26 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 27 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 28 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 29 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 30 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 31 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 32 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 33 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 34 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 35 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 36 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 37 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 38 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 39 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 40 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 41 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 42 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 43 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 44 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 45 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 46 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 47 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 48 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 49 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 50 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 51 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 52 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 53 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 54 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 55 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 56 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 57 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 58 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 59 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 60 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 61 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 62 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 63 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 64 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 65 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 66 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 67 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 68 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 69 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 70 of 71
Case 20-30208   Doc 133   Filed 03/04/22 Entered 03/04/22 15:34:17   Desc Main
                          Document      Page 71 of 71
